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                UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION

IN RE:                                           CASE NO. 20-40087-KKS
                                                 CHAPTER 13
TERI MORRISON


                Debtor                   /

            CHAPTER 13 TRUSTEE'S MOTION TO DISMISS

                     NOTICE OF OPPORTUNITY TO
                      OBJECT AND FOR HEARING

   Pursuant to Local Rule 2002-2, the Court will consider the relief
requested in this paper without further notice or hearing unless a party in
interest files a response within twenty-one (21) days from the date set forth
on the proof of service plus an additional three (3) days for service if any
party was served by U.S. Mail, or such other period as may be specified in
Fed. R. Bankr. P. 9006(f).

   If you object to the relief requested in this paper, you must file an
objection or response electronically with the Clerk of the Court or by mail at
110 E. Park Avenue, Suite 100, Tallahassee, FL 32301, and serve a copy on
the Chapter 13 Trustee, Leigh Duncan Glidewell, at Post Office Box 646,
Tallahassee, FL 32302, and any other appropriate person within the time
allowed. If you file and serve a response within the time permitted, the Court
will either schedule and notify you of a hearing or consider the response and
grant or deny the relief requested without a hearing.

   If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, will
proceed to consider the paper without further notice or hearing, and may
grant the relief requested.
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      COMES NOW, LEIGH DUNCAN GLIDEWELL, Chapter 13 Trustee, by

and through her undersigned attorneys, and hereby files this Motion to Dismiss,

and in support thereof states as follows:

      1. The Debtor(s) filed this Chapter 13 case on March 02, 2020.

      2. The Debtor(s) has failed to provide a copy of the 2020 United States

Income Tax Return, or valid extension, or tax affidavit, if applicable, and any

applicable refund, to the Chapter 13 Trustee.

      3. The Debtor(s) has failed to file all required Annual Statements.

      Sufficient cause exists to dismiss this case.

      WHEREFORE, the Chapter 13 Trustee prays that this case be dismissed

and for such other and further relief as the Court may deem appropriate.

       RESPECTFULLY SUBMITTED.

                                       /s/ Leigh Duncan Glidewell or
                                       /s/ William J. Miller, Jr.
                                       OFFICE OF THE CHAPTER 13 TRUSTEE
                                       POST OFFICE BOX 646
                                       TALLAHASSEE, FL 32302
                                       ldhecf@earthlink.net
                                       (850) 681-2734 "Telephone"
                                       (850) 681-3920 "Facsimile"
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and accurate copy of the foregoing has

been furnished by the court's current CM/ECF notice of electronic filing or first

class mail to:

TERI MORRISON
86 LISA DRIVE
CRAWFORDVILLE, FL 32327

AND

LEIGHANNE BOONE
UPRIGHT LAW LLP
207 WEST PARK AVE.
SUITE B
TALLAHASSEE, FL 32301

on the same date as reflected on the Court's docket as the electronic filing date for

this document.

                                      /s/ Leigh Duncan Glidewell or
                                      /s/ William J. Miller, Jr.
                                      OFFICE OF THE CHAPTER 13 TRUSTEE
